Case 3:20-cv-05376-BHS Document 46-2 Filed 01/12/21 Page1of3

DATE

Mr. Michael Barcott

Mr. Daniel Barcott
Holmes Weddle & Barcott
ADDRESS

Re: Policy Limits Demand
SCANDIES ROSE
ER 408 Offer of Compromise
Decedent Seth Rousseau-Gano
Decedent David Leigh Cobban
Decedent Brock Rainey
Decedent Arthur Ganacias
Survivor - Jon Lawler
Survivor - Dean Gribble
Date of Loss: 31-Dec-2019

Policy limits demand — 10-day deadline
Dear Mike and Daniel:

We are jointing writing on behalf of all claimants employed as seaman by F/V Scandies
Rose owners, Scandies Rose Fishing Co., LLC and/or Mattsen Management LLC.

As you know, David Leigh Cobban, Brock Rainey, Arthur Ganacias and Seth Rousseau-
Gano perished with the sinking of SCANDIES ROSE. Two crewrnembers, Jon Lawler and Dean
Gribble, survived the sinking.

Jon and Dean tell of the terrible ending experienced by their deceased fellow crewmembers. Their
suffering was not instant. They all had an appreciation of their fates. You were present when Jon
and |Dean were interviewed by the Coast Guard. You heard their first-hand accounts of their near-
death experiences suffered by them. Jon and Dean had to come to terms with their almost certain
immediate deaths.

Collectively, the pain and suffering of the crew, both the decedents and survivors, will
exceed the full policy limits which were available prior to any “wasting”. To be clear, we
understand that the policy limits have been reduced by some “wasting” of the policy limits,

 
Case 3:20-cv-05376-BHS Document 46-2 Filed 01/12/21 Page 2 of 3

however, it is our position and assessment that prior to any “wasting” the claims exceeded the
insurance policy limits available.

On behalf of the five deceased crewmembers and the two surviving claimants, and with
their full authority, we request payment of the P&I policy’s available limits. It is also our position
that we will be provided with the opportunity to review any “wasting” of the policy limits to
determine whether the represented available policy limits are appropriate.

Furthermore, this demand is conditioned upon (1) there being a least $9 million remaining on the
policies, (2) receipt of a signed declaration as to the amount of available insurance and the amount
of costs/expenses incurred. The claimants will agree to release the carrier from any liability
beyond the policy limits, including punitive damages, upon payment of said policy limits. All
claimants and their counsel authorized payment of the policy limits to STACEY & JACOBSEN,
PLLC for deposit in its trust account. The claimants will thereafter undertake the division of said
policy limits among themselves.

Specifically, the claimants and their counse! are as follows:
Attorney Gerald Markham, on behalf of the following decedents:

e David Leigh Cobban;
e Brock Rainey; and,
e Arthur Ganacias.

Attorneys Kevin Coluccio and Lee Tucker, on behalf of the following decedent:
e Seth Rousseau-Gano.
Attorneys Joe Stacey and Nigel Stacey, on behalf o* the following claimants:

e Survivor Dean Gribble; and,
e Survivor John Lawler.

In anticipation that this offer will be accepted and policy limits will be paid, the claimants
will submit the appropriate paper work for the Alaska Superior Court’s minor approval and
payment of any share to any minors. This offer is further conditional on the court’s approval that
settlement within policy limits is in the best interest of any minor child(ren). Mr. Markham will
endeavor to secure approval as quickly as possible.

We are requesting payment of policy limits and demanding that confirmation of payment
be provided within 10 days of this letter.

Very truly yours,

 
Case 3:20-cv-05376-BHS Document 46-2 Filed 01/12/21 Page 3of3

KEVIN COLUCCIO
cc. Gerald Markham
Jess Webster
Joe Stacey
Nigel Stacey
